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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                §
                                       §
             Plaintiffs,               §
                                       §
       v.                              §
                                             Case No. 1:14-CV-254
                                       §
UNITED STATES OF AMERICA, et al.,      §
                                       §
                                       §
             Defendants,
                                       §
and                                    §
                                       §
JANE DOE #1, JANE DOE #2, AND JANE     §
DOE #3,                                §
                                       §
             Proposed Defendant–       §
             Intervenors               §
                                       §


 PROPOSED DEFENDANT-INTERVENORS’ MOTION FOR LEAVE TO PROCEED
    UNDER PSEUDONYMS AND MEMORANDUM IN SUPPORT THEREOF
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                                        INTRODUCTION

       The Proposed Defendant-Intervenors (the “Doe Intervenors”) are three individual

undocumented immigrants who will be directly and dramatically affected by the resolution of

the challenged action in this case. Because of their unique and personal interest, the Doe

Intervenors have filed concurrently herewith a Motion to Intervene in this proceeding and a

Supplemental Brief in Opposition to Plaintiff’s Motion for Preliminary Injunction in order to

address the direct impact of DAPA on individuals such as the Doe Intervenors who have lived in

the United States and contributed to their communities for many years. 1

       All three Doe Intervenors meet the DAPA requirements and, under the Deferred Action

Guidance, will be eligible for consideration for deferred action. If DAPA is enjoined, the Doe

Intervenors as well as millions of others similarly situated are unlikely to receive consideration

for deferred action and could face deportation and separation from their families and their

communities. Moreover, they will remain ineligible for the work authorization for which a grant

of deferred action is a prerequisite, thereby limiting their access to employment opportunities and

directly impacting their ability to support their children and families and to contribute to the U.S.

economy.

       In order for the Doe Intervenors to be able to safely make the Motion for Intervention and

to file the Supplemental Brief, the Doe Intervenors request leave to proceed under pseudonyms

for their protection. Groups of individuals, and even some officials, have created an atmosphere

of fear, bias, and xenophobia in South Texas. In the past year, areas in the Rio Grande Valley,

where the Doe Intervenors live with their families, have seen the arrival of armed “militias” that


1
 The Doe Intervenors have adopted and incorporated in full the Defendants’ Memorandum of
Points and Authorities In Opposition to Plaintiffs’ Motion for Preliminary Injunction as well as
Exhibits 1-33 attached thereto. See Docket No. 38 (“Defendants’ Memorandum”).


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advocate a culture of violence and intimidation against undocumented immigrants. See, e.g.,

Perales Decl. Ex. A (January 6, 2015 Houston Chronicle article reporting a surge in armed

border militias and quoting a militia member’s statement that “You see an illegal. You point

your gun dead at him, right between his eyes, and you say, ‘Get back across the border or you

will be shot”). 2 Meanwhile, some of Texas’s own high-ranking elected officials have

contributed to this atmosphere of intolerance, claiming that undocumented immigrants such as

the Doe Intervenors are a threat to Texas. See, e.g., Ex. B (Houston Chronicle article recording

2014 statement of Texas Lieutenant Governor-elect Dan Patrick that undocumented immigrants

“threaten your family. They threaten your life. They threaten your business. They threaten our

state.”). The Doe Intervenors rightfully fear that they and their families will be subject to

unlawful intimidation, violence, and harassment if they are publicly named in this suit.

Moreover, because grants of deferred action under the DAPA program that Plaintiffs challenge

are discretionary, Plaintiffs reasonably fear that Defendants may act to deport them if they are

named in this suit. Accordingly, the Doe Intervenors respectfully request that this Court grant

their motion to proceed under pseudonyms as Defendant-Intervenors.

                                        BACKGROUND

       A.      DHS’s Deferred Action for Parental Accountability Initiative

       The Secretary of the Department of Homeland Security (“DHS”) is “charged with the

administration and enforcement of this chapter [the Immigration and Nationality Act (“INA”)]

and all other laws relating to the immigration and naturalization of aliens.” 8 U.S.C. §

1103(a)(1). Although charged with enforcement of the statutory scheme, “[a]n agency generally

cannot act against each technical violation of the statute it is charged with enforcing,” Heckler v.

2
 All exhibits referred to are those attached the Declaration of Nina Perales filed concurrently
herewith.


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Chaney, 470 U.S. 821, 831–32 (1985), and indeed “[a]principal feature of the removal system is

the broad discretion exercised by immigration officials.” Arizona v. United States, 132 S. Ct.

2492, 2499 (2012). Thus, to enable the “proper ordering of its priorities,” Heckler, 470 U.S. at

832, and the marshalling of extant resources to address those priorities, the INA provides the

Secretary of DHS with the authority to “establish such regulations; . . . issue such instructions;

and perform such other acts as he deems necessary for carrying out his authority under [the

INA].” 8 U.S.C. § 1103(a)(3). Further, the Secretary of DHS is specifically charged with

“establishing national immigration enforcement policies and priorities,” 6 U.S.C. § 202(5), to

ensure that DHS’s limited resources are expended in pursuit of its highest priorities in national

security, border security, and public safety.

       On November 20, 2014, Defendant Secretary of the Department of Homeland Security,

Jeh Johnson, issued a Memorandum entitled “Exercising Prosecutorial Discretion with Respect

to Individuals Who Came to the United States as Children and with Respect to Certain

Individuals Who Are the Parent of U.S. Citizens or Permanent Residents” (“Deferred Action

Guidance”). Docket. No. 38, Ex. 7. In light of DHS’s limited resources, a central component in

the Deferred Action Guidance is the establishment of an integrated directive that institutes the

deferred removal of low-priority undocumented immigrants on a case-by-case basis by granting

them consideration for deferred action. These low-priority undocumented immigrants include

parents of U.S. citizens or Lawful Permanent Residents, all of whom have lived in the United

States for at least five years and who are determined by the Government not to pose a threat to

national security or public safety (“DAPA”). See also Docket. No. 38 at 1.

       To be considered for a grant of deferred action, undocumented individuals must meet six

factors, namely (1) that they have a U.S. citizen son or daughter as of November 20, 2014; (2)




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have continually resided in the United States since before January 1, 2010; (3) been physically

present in the United States on November 20, 2014 and on the date of making the request for

deferred action; (4) have had no lawful status on November 20, 2014; (5) not fall within one of

the categories of enforcement priorities set forth by the Secretary in a concurrently released

memorandum; and (6) present no other factors that, in the exercise of discretion, make the grant

of deferred action inappropriate. Applicants for deferred action must also submit personal and

biometric information for a background check. DHS immigration officers will consider each

application individually and make grants of deferred action on a case-by-case basis. Deferred

action does not confer any sort of legal status on an undocumented immigrant; it merely allows

the immigrant to remain in the United States for a period of up to three years, and it can be

terminated at any time at the discretion of the federal government.

       The State of Texas and the other Plaintiffs here brought suit to enjoin DAPA in this Court

on December 4, 2014. If allowed by this Court, the Doe Intervenors intend to defend their direct

interest in having consideration for deferred action available to them under DAPA.

       B.      The Proposed Doe Defendant-Intervenors

       The Doe Intervenors are three undocumented women, residents of the Rio Grande Valley

region of South Texas, who are the mothers of U.S. citizen children.

       Jane Doe #1 is an undocumented immigrant, a 15-year resident of the United States, and

a mother of four, who lives in Edinburg, Texas. See Declaration of Defendant Intervenor

Movant Jane Doe Doe #1 (“Doe #1 Decl.”) ¶¶ 9, 6, 3. 3 She was born in 1971 in Tamaulipas,


3
  The Declarations of Jane Does #1 - #3 referred to herein are filed concurrently with this motion
and with the Doe Intervenors’ Motion to Intervene. If this Court grants the Doe Intervenors’
request to proceed in this case under pseudonyms, at the Court’s request the Doe Intervenors will
file under seal or in camera a second, otherwise identical set of declarations executed on the
same day as the pseudonymous set, under which their true names are revealed.


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Mexico, where she attended school until the 8th Grade, and later worked as a laborer and food

seller. Id. ¶ 2. In 1999, she came to the United States, where she has lived ever since. Id. ¶ 6.

Jane Doe #1 is married and has four children. Id. ¶ 3. Her oldest son, J., is a recipient of

deferred action under DACA, is married, attends college, and works. Id. ¶ 3. Her three younger

children, R. (21), G.(14), and E. (8) are U.S. citizens, who attend school in the United States and

get good grades. Id. Outside of Jane Doe #1’s family obligations, she helps her husband support

their family by making and selling tamales and other food, and by doing catalog sales. Id. ¶ 4.

Additionally, she volunteers at her church and is active in her promoting her children’s

education. Id. ¶ 5. Jane Doe #1 wishes to remain anonymous because disclosure of her

immigration status could subject her to contempt and harassment, and could lead to her arrest,

detention, and deportation. Id. ¶ 9. Her fears are driven by what she has seen in the Texas media

about the immigration debate. Id.

       Jane Doe #2 is an undocumented immigrant residing in McAllen, Texas, who has lived in

the United States for 13 years, nearly half her life. See Declaration of Jane Doe #2 (“Doe #2

Decl.”) ¶¶ 6, 1, 2. She was born in 1987 in Michoacan, Mexico, where she attended school

through the 5th grade. Id. ¶ 2. After her parents brought her to the United States, she attended

school until the 10th grade. Id. Jane Doe #2 is married and has two young children who are U.S.

citizens: A. (6), who is in the 1st grade, and A. (4), who is in a Head Start program. Id. ¶ 3. Jane

Doe #2 cares for her husband and children and is the sole caretaker of her mother, who lives with

her and has Alzheimer’s disease. Id. ¶ 4. She is currently taking GED classes, is an active

member of her church, and volunteers in her daughter’s Head Start program. Id. ¶ 5. She wishes

to remain anonymous because she sees how the immigration debate has been portrayed in the

media and the harassment some immigrants have faced. Id. ¶ 8. Further, she fears that if her




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unlawful immigration status becomes known, then she will be detained or deported. Id. As the

cornerstone of three generations of her family, detention or deportation would have devastating

consequences. See id. ¶ 3

         Jane Doe #3 is an undocumented immigrant residing in Donna, Texas. Declaration of

Jane Doe #3 (“Doe #3 Decl.”) ¶¶ 1, 4. She is an 11-year resident of the United States and the

mother of a two-year old daughter, who is a U.S. citizen. Id. ¶¶ 3, 4. She was born in 1983 in

Chiapas, Mexico, and completed high school there. Id. ¶ 2. She supports herself and her

daughter by selling items in a flea market, and making food. Id. ¶ 3. She hopes that DAPA will

allow her stay with her daughter and find better work opportunities so that she can provide for

her. Having seen how immigrants can be portrayed in the media, she fears that proceeding under

her own name will subject her to scorn and harassment. Id. ¶ 6. Also, revealing her name could

lead to arrest, detention, or removal. Id.

             STATEMENT OF THE ISSUE TO BE DECIDED BY THIS COURT

         The issue this Court must decide is whether in the current atmosphere of hostility towards

undocumented immigrants along the Texas border and in Texas politics and the ever-present

threat of deportation, the Doe Intervenors, as undocumented immigrants, meet the criteria for

proceeding under pseudonyms in this Court. See Doe v. Stegall, 653 F.2d 180, 186 (5th Cir.

1981). There is no doubt that the answer is in the affirmative.

                                 SUMMARY OF ARGUMENT

         The Doe Intervenors should be granted leave to proceed under pseudonyms. Although

there is no bright-line rule for when a party should be allowed to participate anonymously, the

Fifth Circuit has laid out certain factors, all of which counsel toward allowing anonymity in this

case.




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       First, the current atmosphere of hostility toward undocumented immigrants in the areas

near the Texas-Mexico border, including in the Rio Grande Valley makes clear that the Doe

Intervenors’ fear of harassment, violence, and intimidation is valid. Armed militias in the border

region, coupled with incendiary statements from leading political figures, demonstrate that the

Doe Intervenors would be at risk should their names be released in this high-profile lawsuit.

       Second, and an independent reason for granting anonymity, is that by participating in this

media-intensive litigation, the Doe Intervenors put themselves at risk of arrest, detention and

removal proceedings, which threaten to separate them from their homes, their families and their

communities.

       Finally, allowing the Doe Intervenors to proceed under pseudonyms would promote the

public interest by allowing the Doe Intervenors to participate in this lawsuit. The outcome of

this case could have a direct impact on the Doe Intervenors’ lives as well as those of the three

million other undocumented immigrants similarly situated. No other party to this case faces that

impact. The Defendants pursue broader immigration policies. They are responsible for issuing

and implementing DAPA, but none of them are or ever will be directly affected by DAPA.

Instead, Defendants’ interest in DAPA is to allocate their limited resources effectively,

concluding that individuals such as the Doe Intervenors are a low priority for enforcement.

Unlike the Doe Intervenors and their families, the outcome of this litigation does not jeopardize

Defendants’ families’ well-being or their ability to earn a living. The Doe Intervenors ask the

Court to provide them with the opportunity to defend their own interests under DAPA.




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                                            ARGUMENT

I.      THE PROPOSED INTERVENTION WOULD SUBJECT THE DOE INTERVENORS TO SEVERE
        RISK OF HARASSMENT AND DEPORTATION, THUS FULFILLING THE FIFTH CIRCUIT’S
        CRITERIA FOR PROCEEDING ANONYMOUSLY

                A.      Legal Standard

        The Fifth Circuit does not recognize a “hard and fast formula for ascertaining whether a

party may sue anonymously.” Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981). Rather, “[t]he

decision requires a balancing of considerations calling for maintenance of a party’s privacy

against the customary and constitutionally-embedded presumption of openness in judicial

proceedings.” Id. Although the threat of a hostile public reaction to a lawsuit, without more,

generally does not justify anonymity, the threat of “extensive harassment and perhaps even

violent reprisals if . . . identities are disclosed” will often tip the balance in favor of allowing

parties to proceed under pseudonyms. Id. In addition to and in conjunction with threats of

harassment and violence, three other factors are commonly considered, although none of them is

dispositive and they do not constitute a “rigid, three step test” for determining a party’s right to

proceed anonymously. Id. at 185 (citing S. Methodist Univ. Ass’n of Women Law Students v.

Wynne & Jaffe, 599 F.2d 707 (5th Cir. 1979). These factors, which favor anonymity, are that (1)

the parties seeking anonymity are suing to challenge government activity; (2) the bringing of the

lawsuit compelled the parties to disclose information “of the utmost intimacy”; and (3) by filing

suit, the parties are compelled to admit their intention to engage in illegal conduct. Stegall, 653

F.2d at 185. These factors are not exhaustive, however, see Rose v. Beaumont Indep. Sch. Dist.,

240 F.R.D. 264, 266 (E.D. Tex. 2007), and other factors may be considered as well.




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               B.     Proposed Defendant-Intervenors Seek To Challenge Government
                      Action—The Plaintiff States’ Attack On DAPA—And Doing So
                      Without Anonymity Would Subject Them To A Serious Risk Of
                      Harassment, Violence, And Intimidation

       As explained above, all three Doe Intervenors are fearful for their and their families’

safety if their names are revealed in this suit. See Doe #1 Decl. ¶ 9; Doe #2 Decl. ¶ 8; Doe #3

Decl. ¶ 6. This Court needs no primer on the reasons why. The past year has seen an

unprecedented surge in vitriol against undocumented immigrants, including in South Texas,

which has seen an influx of armed “militia” groups, some of which have expressly advocated for

harassment, violence, and intimidation toward undocumented immigrants. See Ex. A (reporting

a militia member’s statement that “You see an illegal. You point your gun dead at him, right

between his eyes, and you say, ‘Get back across the border or you will be shot.’”); Ex. D (Los

Angeles Times article reporting on increased militia presence in Texas); see also Ex. F (report of

anti-immigrant rallies in Texas by Neo-Nazi and Ku Klux Klan groups). Similar militia groups

have previously been linked to murders of Latinos, most notably in a heavily reported incident in

Arizona in 2011, and the Doe Intervenors reasonably fear similar violence should their names be

released. See Ex. A (discussing the murder of a 29-year-old Latino man and his 9-year-old

daughter by anti-immigrant militia members).

       Moreover, anti-immigrant vitriol has not merely been limited to these vigilante groups.

Rather, it has been cultivated by prominent elected officials from Texas and other of the Plaintiff

States, notably including Texas Lieutenant Governor-elect Dan Patrick, who has referred to

undocumented immigrants as “diseased” and stated at a campaign event that they “threaten your

family . . . They threaten your life. They threaten your business. They threaten our state.” Ex.

B; Ex. C. Even if Texas officials do not harbor anti-immigrant views, stating such views has

become an integral part of Texas electoral politics. Similar beliefs have also been expressed, to



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name just one example, by Plaintiff Kansas’s Secretary of State Kris Kobach, who implied on his

radio program that undocumented immigrants intend to conduct an ethnic cleansing of white

Americans. See Ex. E (newspaper article reporting on Kobach’s remarks and the controversy

they engendered); see also Ex. G (article reporting statements of Republican Congressman Steve

King that even undocumented immigrants wanting to join the U.S. Military should be deported:

“As soon as they raise their hand and say, ‘I’m unlawfully present in the United States,’ we’re

not going to take your oath into the military, but we’re going to take your deposition and we

have a bus for you to Tijuana[.]”). These comments serve to give implicit backing to anti-

immigrant violence, and the Doe Intervenors are reasonably fearful that they would be at serious

risk of harassment, violence, and intimidation if they are forced to proceed under their own

names.

         The fact that the Doe Intervenors seek to join this suit to challenge a high-profile

governmental action makes the threat of harassment and violence particularly acute and boosts

the case for anonymity. Cf. S. Methodist Univ. Ass’n of Women Law Students, 599 F.2d at 713

(noting that most cases allowing anonymity deal with parties opposing the government rather

than other private parties). Granted, the Doe Intervenors are not challenging (for example) the

constitutionality of a state statute, but they are nonetheless seeking to challenge a government

action: the Plaintiff States’ decision to request an injunction that, if granted, would eliminate a

federal government initiative that could allow the Doe Intervenors to come out of the shadows to

lawfully support their families and participate in the public lives of their local communities. And

at the same time the Doe Intervenors are seeking to defend the actions of the federal government

in a case that is under the national spotlight. See, e.g., Ex. A (mentioning this case); Ex. H

(news article reporting on January 14, 2015 vote by the House of Representatives to block




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DAPA, and mentioning this lawsuit). There is ample reason to expect that undocumented

immigrants intervening in a high-profile court battle court be the target of—at the very least—

intimidating protests, such as the recent protests in Murrietta, California, where anti-immigrant

activists went so far as to harass and intimidated undocumented children who were already in

federal custody. See Ex. I (article reporting that “angry crowds thwarted detained migrants from

entering their community”).

       More than “simply” challenging governmental action, without anonymity the Doe

Intervenors would be required to disclose to the world information of the utmost intimacy: their

undocumented status. An individual’s immigration status is incredibly sensitive information, the

exposure of which can subject the individual to severe negative consequences, such as “criminal

prosecution, harassment, and intimidation,” depending on the circumstances. Hispanic Interest

Coalition of Alabama v. Governor of Alabama, 691 F.3d 1236, 1247 (11th Cir. 2012). Indeed,

“this reality has led federal courts . . . to permit the plaintiffs to proceed anonymously in

immigration-related cases.” Id. at 1247 n.8; see, e.g., Plyler v. Doe, 457 U.S. 202 (1982);

Lozano v. City of Hazelton, 496 F. Supp. 2d 477, 507-12 (M.D. Pa. 2007) (citations omitted),

affirmed in relevant part, 620 F.3d 170, 194-96 (3d Cir. 2010), vacated in other part, City of

Hazelton v. Lozano, 131 S. Ct. 2958 (2011); Keller v. City of Fremont, Nos. 8:10-cv-0270-LSC-

FG3; 4:10-cv-3140-LSC-FG3, 2011 WL 41902, at *2-3 (D. Neb. Jan. 5, 2011) (following

Lozano); Georgia Latino Alliance for Human Rights v. Deal, No. 1:11-CV-01804-TWT, at ECF

No. 101 (N.D. Ga. July 8, 2010). Indeed, immigration status is so sensitive that immigrants are

often allowed to file suit anonymously even when they are not undocumented but are actually

lawfully present after, for example, receiving asylum after suffering persecution. See, e.g.,

Friendly House v. Whiting, No. 2:10-cv-1061-SRB, at ECF. No. 212 (D. Ariz. June 21, 2010);




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see also Lozano, 496 F. Supp. 2d at 513-14 (“[F]ederal courts have recognized that inquiries into

immigration status can have an in terrorem, effect, limiting the willingness of plaintiffs to pursue

their rights out of fears of the consequences of an exposure of their position.”).

                C.      Proposed Defendant-Intervenors Admit To Their Undocumented
                        Status By Participating In This Lawsuit, Making Them Vulnerable
                        To Removal Proceedings

        Moreover, proceeding without anonymity in this case would subject the Doe Intervenors

to potential arrest, detention and removal proceedings and “an opprobrium analogous to the

infamy associated with criminal behavior.” Stegall, 653 F.2d at 186. Although the Doe

Intervenors do not admit criminal activity or criminal prosecution per se by appearing in this

case, they admit to their undocumented status, an admission that subjects them to the quasi-

criminal sanction of removal proceedings. The Supreme Court has “long recognized that

deportation is a particularly severe penalty [though] it is not, in a strict sense, a criminal sanction.

Although removal proceedings are civil in nature, deportation is intimately related to the criminal

process.” Padilla v. Kentucky, 559 U.S. 356, 365-66 (2010) (citations and quotations omitted).

Because the Doe Intervenors make themselves vulnerable to the quasi-criminal penalty of

deportation by appearing in this case, a vulnerability that will continue unless and until they

successfully apply for a grant of deferred action under DAPA (the success of which hinges on

the exercise of the Secretary’s discretion), they should also be allowed to proceed under

pseudonyms.

II.     ALLOWING THE DOE INTERVENORS TO PROCEED UNDER PSEUDONYMS WOULD HELP
        ADVANCE THE PUBLIC INTEREST AND WOULD NOT PREJUDICE THE PLAINTIFF
        STATES

        Finally, allowing the Doe Intervenors to proceed under pseudonyms would promote the

public interest and would not prejudice the Plaintiff States. As discussed at more length in the




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concurrently filed motion to intervene, the Doe Intervenors bring a unique viewpoint to this case

by having a direct personal interest in the outcome of this case and by representing the millions

of undocumented immigrants and family members of undocumented immigrants who may be

able to benefit from DAPA. Given the risks of harassment, violence, and deportation that would

accompany disclosure of their names, these interests will not be able to be adequately served if

anonymity is denied. Moreover, the Plaintiff States will not be prejudiced by anonymity. The

issues to be decided in this case are largely legal, and they may be litigated without knowledge of

the Doe Intervenors’ identities.

                                         CONCLUSION

       Proposed Defendant-Intervenors respectfully request that their Motion for Leave to

Proceed Under Pseudonyms be granted.




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Dated: January 14, 2015                      Respectfully submitted,

LAW OFFICE OF FRANK COSTILLA, L.P.           MEXICAN AMERICAN LEGAL DEFENSE
Frank Costilla (Tex. Bar. No. 04856500)      AND EDUCATIONAL FUND
5 E. Elizabeth Street                        By /s/ Nina Perales
Brownsville, Texas 78520                     Nina Perales (Tex. Bar No. 24005046;
Phone: 956-541-4982                          Southern District of Tex. Bar No. 21127
Facsimile: 956-544-3152                      Attorney-in-Charge)
                                             David Hinojosa (Tex. Bar No. 24010689)
                                             110 Broadway, Suite 300
                                             San Antonio, Texas 78205
                                             Phone: (210) 224-5476 (telephone)
                                             Facsimile: (210) 224-5382 (facsimile)


                                             O’MELVENY & MYERS LLP
                                             Linda Smith (Cal. Bar No. 78238)
                                             Adam P. KohSweeney (Cal. Bar No. 229983)
                                             J. Jorge deNeve (Cal. Bar No. 198855)
                                             1999 Avenue of the Stars, 7th Floor
                                             Los Angeles, CA 90067-6035
                                             Phone: 310-246-6801
                                             Facsimile: 310-246-6779

                                             (Requests for pro hac vice admission to be
                                             filed)


    Attorneys for the Proposed Defendant-Intervenors JANE DOE #1, JANE DOE #2, and
                                      JANE DOE #3




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that I and my co-counsel have attempted to obtain consent to this motion
from Plaintiffs’ counsel and from Defendants’ counsel, but have not received any response from
them as of the filing of this motion.

                                                       /s/ Nina Perales
                                                       Nina Perales (Texas Bar No. 24005046)
                                                       Attorney for Proposed Defendant-
                                                       Intervenors


                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on the 14th day of January 2015, I electronically
filed the above and foregoing document using the CM/ECF system, which automatically sends
notice and a copy of the filing to all counsel of record.

                                                       /s/ Nina Perales
                                                       Nina Perales (Texas Bar No. 24005046)
                                                       Attorney for Proposed Defendant-
                                                       Intervenors




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